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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                 CRIMINAL NO. 1:14CR89-2
                                                (Judge Keeley)


  QAAIM CLARK,

                   Defendant.

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
           OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
        GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

        On June 15, 2015, the defendant, Qaaim Clark (“Clark”),

  appeared before United States Magistrate Judge John S. Kaull and

  moved for permission to enter a plea of GUILTY to Count Thirty-

  Three of the Indictment. Clark stated that he understood that the

  magistrate judge is not a United States District Judge, and

  consented to pleading before the magistrate judge.          This Court had

  referred the guilty plea to the magistrate judge for the purposes

  of   administering    the   allocution   pursuant   to   Federal   Rule   of

  Criminal Procedure 11, making a finding as to whether the plea was

  knowingly and voluntarily entered, and recommending to this Court

  whether the plea should be accepted.

        Based upon Clark’s statements during the plea hearing and the

  testimony of Sergeant John Rogers, the magistrate judge found that

  Clark was competent to enter a plea, that the plea was freely and

  voluntarily given, that he was aware of the nature of the charges
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  against him and the consequences of his plea, and that a factual

  basis    existed   for   the   tendered   plea.   On   June   15,   2015,   the

  magistrate judge entered an Opinion/Report and Recommendation

  Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 438)

  finding a factual basis for the plea and recommended that this

  Court accept Clark’s plea of guilty to Count Thirty-Three of the

  Indictment.

          The magistrate judge also directed the parties to file any

  written objections to the R&R within fourteen (14) days after

  service of the R&R. The magistrate judge further directed that

  failure to file objections would result in a waiver of the right to

  appeal from a judgment of this Court based on the R&R. After which,

  the parties did not file any objections.

          Accordingly, this Court ADOPTS the magistrate judge’s R&R,

  ACCEPTS Clark’s guilty plea, and ADJUGES him GUILTY of the crime

  charged in Count Thirty-Three of the Indictment.

          Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

  the Court DEFERS acceptance of the proposed plea agreement until it

  has received and reviewed the presentence report prepared in this

  matter.



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         Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

  follows:

         1.    The   Probation     Officer    undertake      a   presentence

  investigation of QAAIM CLARK, and prepare a presentence report for

  the Court;

         2.    The Government and Gallo are to provide their versions of

  the offense to the probation officer by July 14, 2015;

         3.    The presentence report is to be disclosed to Gallo,

  defense counsel, and the United States on or before August 31,

  2015; however, the Probation Officer is not to disclose the

  sentencing recommendations made pursuant to Fed. R. Crim. P.

  32(e)(3);

         4.    Counsel may file written objections to the presentence

  report on or before September 14, 2015;

         5.    The Office of Probation shall submit the presentence

  report with addendum to the Court on or before September 21, 2015;

  and

         6.    Counsel may file any written sentencing statements and

  motions for departure from the Sentencing Guidelines, including the




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  factual     basis    from    the   statements    or    motions,     on   or   before

  October 5, 2015.

        The magistrate judge continued Clark on bond pursuant to the

  Order Setting Conditions of Release (dkt. no. 82-3) entered on

  November 26, 2014.

        The    Court    will    conduct    the    sentencing    hearing       for    the

  defendant    on     Monday,   October    19,    2015   at   10:30    A.M.     at   the

  Clarksburg, West Virginia point of holding court.

        It is so ORDERED.

        The Clerk is directed to transmit copies of this Order to

  counsel of record, the defendant and all appropriate agencies.

  DATED: June 29, 2015


                                          /s/ Irene M. Keeley
                                          IRENE M. KEELEY
                                          UNITED STATES DISTRICT JUDGE




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